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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )             Case No.: 1:19-cv-02519
       v.                               )
                                        )             Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )             Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)


                         DECLARATION OF RISHI NAIR

        I, Rishi Nair, of Chicago, Illinois, declare as follows:

        1. I am over 18 years of age. I have personal knowledge of the facts set forth herein. I

make this declaration in support of Plaintiff’s Ex Parte Motion for Entry of Temporary

Restraining Order (the “Ex Parte Motion for TRO”) and, if called as a witness, I could and

would competently testify as follows:

        2. I am an attorney at law, duly admitted to practice before the Courts of the State of

Illinois, the United States District Court for the Northern District of Illinois.

        3. Plaintiff is seeking ex parte relief and is requesting service by email to Defendants

Identified in Exhibit 2 to Plaintiff’s Complaint (filed under seal Dkt. 5)(collectively

“Defendants”). Defendants operate webstores on online merchant platforms to sell counterfeit

products in violation of Plaintiff’s trademark rights (“Counterfeit Products”). In my experience,

gained through working with brand owners who identified websites and webstore listings selling

counterfeit products, if General Tools & Instruments, LLC proceeds to work with the webstores

through the normal means of challenging listings, the Defendants easily and quickly transfer data

and content to other merchant platforms, thwarting those third party mechanisms and furthering
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their illicit conduct. Defendants will also transfer assets from U.S.-based financial institutions to

offshore accounts outside the jurisdiction of this Court and use those assets to further their

criminal enterprises. Such actions by Defendants will negate Plaintiff’s ability to obtain

meaningful relief and will continue to irreparably harm Plaintiff through Defendants’ sale of

Counterfeit Products.

        4. Upon entry of a Temporary Restraining Order in this matter, I will notify the

Defendants by sending copies of Plaintiff’s Ex Parte Motion for TRO and supporting papers via

e-mail to the e-mail addresses provided by the Defendants to the Websites responsible for

hosting their respective Webstores.

        5. A listing of selected examples Defendants’ unauthorized use of the ANGLE-IZER

mark on the Infringing Webstore listings to advertise the sale of Counterfeit Products is attached

hereto as Exhibit 1 (under seal). This document was prepared by the Plaintiffs and their

employees or contractors under their direction and supervision and I have authenticated the

listings myself. In this exhibit, selected screenshots of the listings from Defendants’ Infringing

Webstores appear with the ANGLE-IZER trademark listed in the listing title, images associated

with the listing, and/or within the description of the product itself. The Defendants’ use the

ANGLE-IZER trademark to sell their counterfeit goods to unsuspecting consumers who believe

they are actually buying authentic ANGLE-IZER goods.

        6. Genuine and authentic copies of the unpublished decisions cited in Plaintiff’s

Memorandum of Law in Support of Ex Parte Motion for TRO are attached hereto as Exhibit

2.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Dated this 17th day of April, 2019

                                                            /s Rishi Nair
                                                     Rishi Nair
